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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                    )               CASE NO. 4:12cr00051-007
                                             )
       Plaintiff,                            )               JUDGE: JAMES S. GWIN
                                             )
vs.                                          )               ORDER
                                             )
COURTNEY COBB,                               )
                                             )
       Defendant.                            )



       This matter was heard on September 15, 2015, upon the request of the United States

Pretrial and Probation Office for a finding that defendant violated the conditions of supervised

release. The defendant was present and represented by Attorney Nathan Ray.

       The violation matter was referred to Magistrate Judge William H. Baughman, Jr., [Doc.

179] on May 4, 2015. A Report and Recommendation was issued on May 21, 2015 [Doc. 185].

No objections having been filed, the Court adopted the Report and Recommendation and found

that the following terms of supervision had been violated:

               1) failure to attend Cognitive Behavioral Program;

               2) absconder;

               3) failure to report to and contact the Probation Office and the

               supervising officer;

               4) failure to complete monthly supervision reports;
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               5) use of illicit substance.

       Therefore, the defendant is committed to the Bureau of Prisons for a period of 6 months

and is granted credit for time served in federal custody on the instant violations. Upon release

from incarceration defendant will be placed on supervised release for a period of 1 year with the

same conditions earlier imposed.

       The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.



Dated: September 16, 2015                            s/ James S. Gwin
                                                     JAMES S. GWIN
                                                     UNITED STATES DISTRICT JUDGE
